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                 IN THE DISTRICT COURT OF THE UNITED STATES
                         DISTRICT OF SOUTH CAROLINA
                             GREENVILLE DIVISION

UNITED STATES OF AMERICA                      CRIMINAL NO:      ~;   2 \-     4:t 0
                 v.                                     ORDER FOR
                                                      BENCH WARRANT
DILLINGER MATSON BOLDEN
     a/k/a "Nuke"

       The Clerk of Court          is hereby directed to            issue a    warrant

for   the    above-named      defendant,     DILLINGER MATSON         BOLDEN,      a/ k/ a

"Nuke",      as requested by the United States Attorney.                  The amount

and conditions of bond to be set by the judicial officer before

whom the defendant initially appears.
                                                        s/ Kevin F. McDonald

                                         UNITED STATES MAGISTRATE JUDGE


Greenville, South Carolina

August      (D   ,    2021


I SO MOVE:


M. RHETT DEHART



By:

      Assistant United States Attorney
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